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08/12
UN|TED STATES BANKRUPTCY COURT
Western District of Michigan
|n Re'. Danise Marie Audette Case #:16-03238
, Chapter 13
Debtor(s). Hon..iohn T. Gregg
l Filed: June 16, 2016

 

FlRST PRE~CONF|RMAT|ON AMENDMENT
TO CHAPTER 13 PLAN

This amendment merely increases the plan payment for feasibility, amends the priority section to include the tax
due City of Lansing, based on the claim as filed, and adds the Tax Parcel l.D. Number to the real property.

ll. FUND|NG
A. PLAN PAYMENT The Debtor(s) shall make payments in the amount of $ 840.00 per|:] week, |:] bi-week!y, [:j
semi-month|y, El:| month|y, and/or[| Other (see "Additiona| Plan Payment Provisions" below) for the minimum of
the Applicab|e Commitment period (ACP).
E Additional Plan Payment Provisions:

|ll. D|SBURSEMENTS
B. PR|OR|TY CLA|MS
2. Priority Tax C|aims are allowed claims under Section 507 and shall be paid in full by the Trustee.
Post-petition priority tax claims»absent objection, post-petition priority claims shall be paid in full pursuant to
11 U.S.C. Section 1305(a)(1) and (b). Any portion of the §1305 claim that is not paid through the Chapter 13

plan for whatever reason, including dismissal or conversion to Chapter 7, will remain non-dischargeable, even
if the debtor{s) receive(s) a discharge

Mandatory information:

 

Creditor Estimated Amount “ Nature of Debt

 

 

 

 

city of Lansing 219.90 2013 income tax obligation

 

 

C. SECURED CRED|TORS
1. Real Proper_ty:

a. Residential: Post-Petition Mortgage Payments and Pre-Petition Arrears. The following is the street address
and the tax lD parcel # for the Debtor’s residential real property:

Propel'fy # 3225 Westmont Avenue Lansing. M| 48906-2549 |ngham County; 33-01-01-06-128-171

 

 

 

 

 

 

 

 

 

 

 

Creditor Name Trustee Pay Monthly Payment Amt. Estimated "‘ Taxes & insurance
(VIN) Arrearage escrowed with
lender? ¥lN
Mortgage Center LLC Y 597.57 5,509.35 Y
f ' -
Date: August ~_3 , 2016 _ WW/W , OM[M:Q
Danise Marie Audette , Debtor
Date! August § . 2016 .
Kristen L. Krol P55103 , Counse| for the Debtor

m The pre-petition arrearage ls an estimate and the Trustee shai| pay the pre-petilion arrears based on the claim as titled by the Credltor. Any claim filed for pre-petition arrears shall be paid through the

PIan over reasonable period of time and pro-rata with other secured creditors

1 - Rev|sed on 3-21-20‘|2

